     Case 3:18-cr-00005-VAB Document 39 Filed 10/23/18 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                                 :        3:18-cr-00005(VAB)
                                                         :
v.                                                       :
                                                         :
CANDACE RISPOLI                                          :        OCOTBER 23, 2018

              MOTION TO REFER DEFENDANT TO SUPPORT COURT

        The Defendant respectfully requests that she be referred to Support Court in

order to continue her treatment for her addiction. Ms. Rispoli was hospitalized for

several days at the end of August into the beginning of September after being injured

and during which time she detoxed from alcohol. Three weeks later, she was admitted

to the High Watch Recovery Center and completed three weeks of inpatient treatment.

Continued treatment at the present time is necessary to keep Ms. Rispoli was relapsing.

        Ms. Rispoli’s Pretrial Probation Officer, Lisa van Sambeck has no objection to this

request.

        Assistant United States Attorney Heather Cherry was contacted on today’s date

and indicated that the Government needs time to decide what position it will take.

        WHEREFOR, for the foregoing reasons, it is requested that the court refer Ms.

Rispoli to Support Court.




                        LYNCH, TRAUB, KEEFE AND ERRANTE, P. C. ATTORNEYS AT LAW
                    52 TRUMBULL STREET P.O. BOX 1612 NEW HAVEN, CONNECTICUT 06506-1612
                               TELEPHONE (203) 787-0275 FACSIMILE (203) 782-0278
  Case 3:18-cr-00005-VAB Document 39 Filed 10/23/18 Page 2 of 2




                                                 /s/ Hugh F. Keefe
                                               HUGH F. KEEFE, ESQ. ct05106
                                               Hkeefe@ltke.com
                                               MATTHEW D. POPILOWSKI, ESQ. ct28869
                                               mpopilowski@ltke.com
                                               Lynch, Traub, Keefe and Errante, P.C.
                                               52 Trumbull Street
                                               New Haven, CT 06510
                                               Tel. 203-787-0275
                                               Fax.203-782-0278

                              CERTIFICATION OF SERVICE

        I hereby certify that on OCTOBER 23, 2018, a copy of the foregoing was filed
electronically and served by mail on anyone unable to receive electronic filing. Notice
of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.

                                               /s/ Hugh F. Keefe
                                               HUGH F. KEEFE, ESQ. ct05106




                       LYNCH, TRAUB, KEEFE AND ERRANTE, P. C. ATTORNEYS AT LAW
                   52 TRUMBULL STREET P.O. BOX 1612 NEW HAVEN, CONNECTICUT 06506-1612
                              TELEPHONE (203) 787-0275 FACSIMILE (203) 782-0278
